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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                    RICHMOND DIVISION


    GOLDEN BETHUNE-HILL, et al.,
                                                          Civil Action No. 3:14-cv-00852-
                         Plaintiffs,                      REP-GBL-BMK
                    v.

    VIRGINIA STATE BOARD OF
    ELECTIONS, et al.,

                         Defendants,

                     v.

    VIRGINIA HOUSE OF DELEGATES, et al.,

                         Intervenor-Defendants.



                                DECLARATION OF DION W. HAYES

         I, Dion W. Hayes, state that I have personal knowledge of the matters set forth in this

  declaration and, if sworn as a witness, would testify as follows:

         1.      I am a partner in the law firm of McGuireWoods LLP (“McGuireWoods”) and

  submit this declaration (the “Declaration”) in support of the Revised Second Motion for Attorneys’

  Fees and Litigation Expenses (the “Motion”) filed by the above-captioned plaintiffs (collectively,

  the “Plaintiffs”) seeking a fee award for the services performed by Perkins Coie LLP (“Perkins

  Coie”) in the above-captioned case. Specifically, Perkins Coie has asked me to address how the

  billable hourly rates in the Motion compare with Richmond, Virginia billable hourly rates for

  attorneys of similar experience and skills during the years 2017-2019.

         2.      I received by B.A. in History from the University of Virginia in 1989 and my J.D.

  from William & Mary Law School in 1992. Since my admission to practice before the courts of

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  the Commonwealth of Virginia, the United States District Court for the Eastern District of

  Virginia, and the United States Court of Appeals for the Fourth Circuit in 1992, I have practiced

  bankruptcy law and commercial litigation at the Richmond, Virginia office of McGuireWoods. In

  addition to Virginia, I am admitted to the bars of the District of Columbia and the States of

  Maryland and New York. I am a Fellow in the American College of Bankruptcy. I have an

  AVTM Rating with Martindale-Hubbell and have been recognized in Chambers USA for

  Bankruptcy/Restructuring (Virginia) (2016-2020); Virginia Super Lawyers for Bankruptcy &

  Creditor/Debtor Rights, Banking, Business Litigation (2007-2019); The Best Lawyers in

  America for Bankruptcy and Creditor Debtor Rights / Insolvency and Reorganization Law (2006-

  2020) and Litigation - Bankruptcy (2017-2020); and Virginia Business “Legal Elite”, Bankruptcy

  Law (2007-2019).

         3.      I served as Chair of the Restructuring and Insolvency Department of

  McGuireWoods from 2012 until August 2017, when I became Deputy Managing Partner for

  Litigation of McGuireWoods, a position I hold presently. As the Deputy Managing Partner for

  Litigation, I oversee the nine (9) litigation departments of the firm, which are comprised of 497

  attorneys and 79 paralegals, for a total of 576 litigation timekeepers located in nineteen (19) offices

  in the United States and one in London, England.

         4.      One of my responsibilities as Deputy Managing Partner for Litigation is to

  participate in setting the hourly rates at which McGuireWoods attorneys and paralegals bill for

  litigation matters, including those in the Richmond, Virginia legal market.             Each of our

  timekeepers has a standard or “rack” rate, which I participate in setting every year, and I must

  approve any engagement where such rates are proposed to be discounted by more than six percent

  (6%). During my prior five-year service as Chair of the firm’s Restructuring & Insolvency

  Department, I participated in setting the rates annually of the approximately thirty-five (35)
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  professionals in that department and also had to approve any standard rate discounting of any

  magnitude. I have been involved in setting the rates of our firm’s attorneys in one capacity or

  another continuously for the past eight (8) years.

         5.      Through my twenty-eight years of experience practicing law in the Richmond

  office of McGuireWoods and several years of experience in setting rates for McGuireWoods

  attorneys, I have become very familiar with the rates charged by both McGuireWoods’ Richmond

  attorneys and in the Richmond legal market overall. In my experience, federal courts in Richmond

  routinely award partner rates in excess of $1,000 per hour for specialized legal work. See In re

  Toys “R” Us, Inc., et al., Case No. 17-34665 (KLP) (Bankr. E.D. Va.), Order Granting Final Fee

  Application of Kirkland & Ellis LLP and Kirkland & Ellis International LLP, Attorneys for the

  Debtors and Debtors in Possession, for the Period from September 18, 2017 Through and

  Including December 17, 2018 [Docket No. 7019] (granting final fee application with average

  hourly rate for partners of $1,221); see also In re The Gymboree Corporation, et al., Case No.

  Case No. 17-32986 (KLP) (Bankr. E.D. Va.), Order Granting Final Fee Application of Kirkland

  & Ellis LLP and Kirkland & Ellis International LLP, Attorneys for the Debtors and Debtors in

  Possession, for the Period from June 11, 2017 Through and Including September 7, 2017 [Docket

  No. 851] (granting final fee application with average hourly rate for partners of $1,153); see also

  In re Penn Virginia Corporation, et al., Case No. 16-32395 (KLP) (Bankr. E.D. Va.), Order

  Granting Final Fee Application of Kirkland & Ellis LLP and Kirkland & Ellis International LLP,

  Attorneys for the Reorganized Debtors, for the Period From May 12, 2016 Through and Including

  September 12, 2016 [Docket No. 717] (granting final fee application with average hourly rate for

  partners of $1,075).

         6.      Further, the average standard hourly rate for McGuireWoods senior partners in

  Richmond performing complex civil litigation work during 2017-19 ranged from as low as $870
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  in 2017 to as high as $937 in 2019, while the average standard hourly rate for McGuireWoods

  junior partners in Richmond performing complex civil litigation work ranged from as low as $732

  in 2017 to as high as $760 in 2019. Similarly, the average standard hourly rate for senior associates

  in Richmond performing complex civil litigation work ranged from as low as $496 in 2017 to as

  high as $534 in 2019, while the average standard hourly rate for junior associates in Richmond

  performing complex civil litigation work ranged from as low as $368 in 2017 to as high as $432

  in 2019, and the average standard hourly rate for McGuireWoods paralegals in Richmond

  performing complex civil litigation work ranged from as low as $260 to as high as $281.

         7.      I have reviewed the Motion and related materials, including the biographical

  information for the attorneys referenced therein. Per the Motion, the average hourly rate for

  Perkins Coie’s senior partners for the above-captioned case ranged from as low as $675 in 2017

  to as high as $750 in 2019, while the average hourly rate for Perkins Coie’s junior partners for the

  above-captioned case ranged from as low as $504 in 2017 to as high as $584 in 2019. Similarly,

  the average hourly rate for Perkins Coie’s senior associates for the above-captioned case ranged

  from as low as $415 in 2017 to as high as $480 in 2019, while the average hourly rate for Perkins

  Coie’s junior associates for the above-captioned case ranged from as low as $370 in 2018 to as

  high as $400 in 2019, and the average hourly rate for Perkins Coie’s paralegals for the above-

  captioned case ranged from as low as $230 in 2017 to as high as $250 in 2019.




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             8.        Thus, I find the Perkins Coie rates to be reasonable and comparable to or below

  the rates for McGuireWoods’ Richmond professionals performing similar work per the following:

      Title              2017 MW          2018 MW          2019 MW           2017 PC          2018 PC          2019 PC
    (Years of             Average          Average          Average          Average          Average          Average
   Experience)           Richmond         Richmond         Richmond         Richmond         Richmond         Richmond
                         Standard         Standard         Standard            Rate             Rate             Rate
                           Rate             Rate             Rate
  Senior Partner           $870             $879             $937               $675            $715             $750
      (26+)
  Junior Partner             $732             $736             $760             $504            $544             $584
    (up to 25)
      Senior                 $496             $507             $534             $415            $430             $480
  Associate (5+)
      Junior                 $368             $404             $432             N/A             $370             $400
    Associate
       (0-4)
    Paralegal                $260             $267             $281             $230            $235             $250

             9.       Based on my knowledge of the Richmond, Virginia legal market, I conclude that

  the Perkins Coie hourly rates in the Motion are reasonable and at or below market rate for

  Richmond attorneys of similar experience and reputations for complex civil litigation of the kind

  at issue here. Given the high quality of Perkins Coie’s legal services, its expertise and efficiency,

  and what I understand to be the successful result obtained for the client, a fee award to Perkins

  Coie based on the rates referenced in the Motion would be fair and reasonable in my opinion.1

             10.      I am being compensated in the amount of $837 an hour for the time devoted to

  enable me to prepare this Declaration expressing my opinions. My compensation is not contingent

  in any way on the outcome of the Motion or upon the content of this Declaration. With the

  exception of my engagement in this matter, I have no business or financial relationship with

  Perkins Coie. I have never represented Plaintiffs in my practice of law, and McGuireWoods has

  no ongoing relationship with Plaintiffs.



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      I do not express an opinion regarding the appropriateness of the time expended on the tasks described in the Motion.
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          Pursuant to 28 U.S.C. § 1746, I hereby declare under penalty of perjury that the foregoing

  is true and correct.


  Executed on May 8, 2020.

                                                        /s/ Dion W. Hayes
                                                            Dion W. Hayes




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